Case 2:03-Cr-20392-BBD Document 58 Filed 06/07/05 Page 1 of 4 Page|D 72

IN THE UNITED STATES DISTRICT COURT

 

 

 

FoR THE WESTERN DISTRICT or TENNESSEE F"ED B`"
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UNrrED sTATEs oF AMERICA ) WD- t TN HJJ”HIS
Piaimiff, i
vs i CR. No. 03_20392-1)
ALPHONSO CARRAWAY i
Defendant. ))
0RDER To sURRENDER

 

The defendant, Alphonso Carraway, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Butner, P.O.
Box 1000, Butner, North Carolina 27509 by 2:00 p.m. on TUESDAY, August 2, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant Will report as ordered to the facility named above.

/Q,/€//

B RNICE B. D/c')NAWLD
ITED sTATEs DISTRICT JUDGE

ENTERED this the §’Q dayofJune,ZOOS.

 
   

This ejectment entered on the docket sheet |n ampllanee
with nine 55 and/or azrb) FHch on _w__.'.. j_'.O_§_

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ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, i'lne or both.

Signed and acknowledged before me on

 

 

 

Clerkaeputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:03-CR-20392 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Larry E. oCopeland

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Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

 

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